Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.17 Page 1 of 7




  1   P. Kristofer Strojnik, SBN 242728
      Law Offices of Peter Strojnik
  2   pstrojnik@strojniklaw.com
  3   Esplanade Center III, Suite 700
      2415 East Camelback Road
  4   Phoenix, Arizona 85016
  5   602.510.9409 (tel.)

  6   Attorneys for Plaintiff
  7                              UNITED STATES DISTRICT COURT
  8
                              SOUTHERN DISTRICT OF CALIFORNIA
  9
      THERESA BROOKE, a married woman
 10
      dealing with her sole and separate claim,      Case No: 3:20-cv-01900-WQH-MDD
 11
                              Plaintiff,             VERIFIED AMENDED
 12                                                  COMPLAINT
 13   vs.
                                                     (JURY TRIAL DEMANDED)
 14   NORCAP GENERATIONS LLC, a
      Delaware limited liability company dba
 15
      Quality Suites San Diego SeaWorld Area;
 16   VIVO INVESTMENTS LLC, a Delaware
      limited liability company,
 17
 18                           Defendant.

 19          Plaintiff Theresa Marie Brooke alleges:
 20                                           PARTIES
 21          1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
 22   and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
 23   the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
 24   California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
 25   to the loss of a leg.
 26          2.      Defendant, Norcap Generations LLC, owns and/or operates and does
 27   business as the hotel Quality Suites San Diego SeaWorld Area located at 631 Camino
 28   del Rio S in San Diego, California (the “Hotel”). Defendant’s hotel is a public
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.18 Page 2 of 7




  1   accommodation pursuant to 42 U.S.C. § 12181(7)(A), which offers public lodging
  2   services. On information and belief, Defendant’s hotel was renovated after March 15,
  3   2012.
  4           3.    Defendant Vivo Investments LLC operates the Hotel.
  5           4.    Both Defendants are collectively referred to herein as “Defendant.”
  6                               SUMMARY OF ALLEGATIONS
  7           5.    Plaintiff Theresa Brooke brings this action against Defendant, alleging
  8   violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et
  9   seq., (the “ADA”) and its implementing regulations and the California Unruh Civil
 10   Rights Act (“Unruh”), California Civil Code §§51, 52. Specifically, Plaintiff brings this
 11   action because Defendant’s hotel does not comply with Section 503 of the 2010
 12   Standards of Accessible Design; Defendant does not have an access aisle at the hotel
 13   passenger loading zone that is compliant with Section 503.
 14                                         JURISDICTION
 15           6.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 16   U.S.C. § 12188.
 17           7.    The Court has supplemental jurisdiction over the state law claim. 28
 18   U.S.C. § 1367. See also Johnson v. Mariani, No. 17-01628-BLF (N.D. Cal. Jul. 10,
 19   2017); Johnson v. United Rentals Nw., Inc., No. 11-00204, 2011 WL 2746110, at *4.
 20           8.    Plaintiff’s claims asserted herein arose in this judicial district and
 21   Defendant does substantial business in this judicial district.
 22           9.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 23   in that this is the judicial district in which a substantial part of the acts and omissions
 24   giving rise to the claims occurred.
 25                                         ALLEGATIONS
 26           10.   Plaintiff formerly worked in the hospitality industry and her husband
 27   works in the travel industry. She and her husband are avid travelers to California for
 28   purposes of leisure travel, court-related hearings, conferences and inspections, and to


                                                 2
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.19 Page 3 of 7




  1   “test” whether various hotels across the Country comply with disability access laws.
  2   She has been to California countless times over the past few years for purposes of
  3   checking ADA compliance, leisure travel, and court-related conferences.
  4          11.    Plaintiff and her husband traveled to San Diego in mid-September 2020
  5   for purposes of leisure travel and to test accessibility at local hotels.
  6          12.    During this trip, Plaintiff personally visited Defendant’s hotel and stopped
  7   at Defendant’s passenger loading zone directly in front of the lobby. The passenger
  8   loading zone is the area directly in front of the lobby that persons generally park for a
  9   short period while checking in or loading luggage.
 10          13.    Plaintiff could not access Defendant’s lobby because the passenger
 11   loading zone did not have an access aisle that complies with Section 503 of the
 12   Standards. An access aisle is necessary to mark where other cars should not drive and
 13   park, thereby creating a clear path to the lobby from the passenger loading zone for a
 14   person in a wheelchair and providing a safe space for persons in a wheelchair without a
 15   threat of vehicles running into her. An access aisle is similar to a bike lane for bikers,
 16   except an access aisle is for persons in a wheelchair.
 17          14.    An illustration of a correct access aisle (the striped portion of the
 18   illustration below) and compliant cut-out are provided below, which was not provided
 19   by Defendant:
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                  3
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.20 Page 4 of 7




  1
  2          15.    Deterred at the lack of equality and inability to even access the lobby
  3   from the passenger loading zone, Plaintiff could not even enter the lobby.
  4          16.    Plaintiff is deterred from visiting Defendant’s hotel in the future until and
  5   unless Defendant remedies the barrier referenced above. Plaintiff intends on visiting
  6   San Diego again later this year for leisure and further ADA testing and will visit
  7   Defendant’s hotel if it remediates the barrier at issue. If remediation occurs, Plaintiff
  8   can then gain equal access as able-bodied consumers. Plaintiff may also have to return
  9   to the hotel and San Diego for purposes of joint site inspections, ENEs or other court-
 10   related conferences and hearings.
 11          17.    It is readily achievable to modify the hotel to provide an access aisle.
 12          18.    Without injunctive relief, Plaintiff and others will continue to be unable to
 13   independently use Defendant’s hotel in violation of her rights under the ADA.
 14          19.    Other potential violations and barriers to entry at Defendant’s hotel may
 15   be discovered during this litigation. It is Plaintiff’s intention to cure all ADA violations
 16   at this hotel in one lawsuit as opposed to doing so in piecemeal litigation, and so she
 17   will amend this Complaint pursuant to Doran if additional ADA violations are
 18   discovered during the case.
 19                                 FIRST CAUSE OF ACTION
 20      20. Plaintiff incorporates all allegations heretofore set forth.
 21          21.    Defendant has discriminated against Plaintiff and others in that it has
 22   failed to make its public lodging services fully accessible to, and independently usable
 23   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 24   121282(b)(2)(iv) and the 2010 Standards, as described above.
 25          22.    Defendant has discriminated against Plaintiff in that it has failed to
 26   remove architectural barriers to make its lodging services fully accessible to, and
 27   independently usable by individuals who are disabled in violation of 42 U.S.C.
 28


                                                 4
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.21 Page 5 of 7




  1   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
  2   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
  3   services nor result in an undue burden to Defendant.
  4          23.     In violation of the 2010 Standards, Defendant’s hotel passenger loading
  5   zone does not have a disability access aisle as required by Section 503 of the Standards.
  6          24.     Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
  7   as described above, is readily achievable by the Defendant. Id. Readily achievable
  8   means that providing access is easily accomplishable without significant difficulty or
  9   expense.
 10          25.     Defendant’s conduct is ongoing, and, given that Defendant has never fully
 11   complied with the ADA’s requirements that public accommodations make lodging
 12   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
 13   invokes her statutory right to declaratory and injunctive relief, as well as costs and
 14   attorneys’ fees.
 15          26.     Without the requested injunctive relief, specifically including the request
 16   that the Court retain jurisdiction of this matter for a period to be determined after the
 17   Defendant certifies that it is fully in compliance with the mandatory requirements of the
 18   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
 19   requirements that its passenger loading zone be fully accessible to, and independently
 20   useable by, disabled people is likely to recur.
 21          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 22                a. A Declaratory Judgment that at the commencement of this action
 23                  Defendant was in violation of the specific requirements of Title III of the
 24                  ADA described above, and the relevant implementing regulations of the
 25                  ADA, in that Defendant took no action that was reasonably calculated to
 26                  ensure that all of its passenger loading zone is fully accessible to, and
 27                  independently usable by, disabled individuals;
 28


                                                5
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.22 Page 6 of 7




  1                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
  2                   36.504(a) which directs Defendant to take all steps necessary to bring its
  3                   passenger loading zone into full compliance with the requirements set
  4                   forth in the ADA;
  5                c. Payment of costs and attorney’s fees;
  6                d. The provision of whatever other relief the Court deems just, equitable and
  7                   appropriate.
  8                                  SECOND CAUSE OF ACTION
  9          27.      Plaintiff realleges all allegations heretofore set forth.
 10          28.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 11   public accommodation on the basis of her disability as outlined above.
 12          29.      Unruh provides for declaratory and monetary relief to “aggrieved
 13   persons” who suffer from discrimination on the basis of their disability.
 14          30.      Plaintiff has been damaged by the Defendant’s non-compliance with
 15   Unruh.
 16          31.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
 17   relief as the Court considers appropriate, including monetary damages in an amount of
 18   $4,000.00, and not more.
 19          32.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 20   amount to be proven at trial.
 21          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 22                a. A Declaratory Judgment that at the commencement of this action
 23                   Defendant was in violation of the specific requirements of Unruh; and
 24                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 25                   36.504(a) which directs Defendant to take all steps necessary to bring its
 26                   passenger loading zone into full compliance with the requirements set
 27                   forth in the ADA;
 28


                                                   6
Case 3:20-cv-01900-WQH-MDD Document 6 Filed 11/09/20 PageID.23 Page 7 of 7




  1             c. Payment of costs and attorney’s fees;
  2             d. For damages in the amount of $4,000.00, the statutory minimum, and not
  3                 more; and
  4             e. The provision of whatever other relief the Court deems just, equitable and
  5                 appropriate.
  6                                DEMAND FOR JURY TRIAL
  7          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
  8   demands a jury trial on issues triable by a jury.
  9
 10          RESPECTFULLY SUBMITTED this 9th day of November, 2020.
 11                                              /s/ P. Kristofer Strojnik
 12                                              P. Kristofer Strojnik (242728)
                                                 Attorneys for Plaintiff
 13
 14                                        VERIFICATION

 15          I declare under penalty of perjury that the foregoing is true and correct.
 16                        DATED this 9th day of November, 2020.
 17
 18
 19
 20
 21
             Theresa Marie Brooke
 22
 23
 24
 25
 26
 27
 28


                                                7
